Case 2:04-cv-02054-SHI\/|-dkv Document 21 Filed 06/13/05 Page 1 of 2 Page|D 37

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UNITED sTATEs DISTRICT coURT F!LED 9‘ u‘£'*‘

wEsTERN DISTRICT oF TENNESSEE ’3 plus 305
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JAMES HANNA,
Plaintiff,
v. Cv. No. 04-2054-Ma

MOCK, INC. , d/b/a
HI SPEED INDUSTRIAL SERVICE,

Defendant.

JUDGMENT
Decision. by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED A.ND ADJUDGED that this action is dismissed
With prejudice, in accordance with the Order of Dismissal
docketed June 8, 2005. Each party shall bear its own costs and
attorneys' fees.

APPROVED% wm

SAMUEL H. MAYS, JR.
UNITED STATES DIS’I'RICT JUDGE

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This notice confirms a copy of the document docketed as number 21 in
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Honorable Samuel Mays
US DISTRICT COURT

